                                                                             Motion GRANTED.
                         UNITED STATES DISTRICT COURT                        Plea set for 9/20/12
                     FOR THE MIDDLE DISTRICT OF TENNESSEE                    at 2:30 PM.
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                  )
                                          )
                                          )
       v.                                 )       No. 3:12-00018-4
                                          )       JUDGE TRAUGER
                                          )
SHAWANNA NICOLE BOLDEN                    )

                              MOTION TO SET FOR PLEA

       The defendant, Shawanna Bolden, through counsel, moves this Honorable Court

to set this matter for a plea hearing at the Court’s earliest availability in approximately

two weeks. As grounds for this motion, counsel would state that the parties are in the

process of finalizing the plea agreement, and there is additional paperwork involved.

                                          Respectfully submitted,

                                          s/ Dumaka Shabazz
                                          DUMAKA SHABAZZ (BPR#022278)
                                          Assistant Federal Public Defender
                                          810 Broadway, Suite 200
                                          Nashville, TN 37203
                                          615-736-5047

                              CERTIFICATE OF SERVICE

      I hereby certify that on the 4th day of September, 2012, I electronically filed the
foregoing Motion to Set for Plea Hearing with the Clerk of the Court by using the
CM/ECF system, which will send a Notice of Electronic Filing to the following: Sandra
Moses, Assistant United States Attorney, 110 Ninth Avenue South, Suite A-961,
Nashville, Tennessee 37203-3870.
                                           s/ Dumaka Shabazz
                                          DUMAKA SHABAZZ



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